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                                                                     11
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                                                                     12
                                                                                              UNITED STATES DISTRICT COURT
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                                                                     13
                                                                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                     14
                                                                          JANE DOE,                           )   CASE NO.:                    .
                                                                     15                                       )
                                                                                                              )   COMPLAINT FOR DAMAGES
                                                                     16         Plaintiff,                    )
                                                                                                              )
                                                                     17                                       )   1. Violations of Civil Rights
                                                                                vs.                           )
                                                                     18                                           [42 U.S.C. § 1983]
                                                                                                              )
                                                                          MOLLY HILL, OFFICER JOHN            )   (Based on Sexual Battery and
                                                                     19                                           Supervisory Liability)
                                                                          DOE 1, and DOES 2 through 10,       )
                                                                     20                                       )
                                                                          Inclusive,                          )   Demand for Jury Trial
                                                                     21                                       )
                                                                                                              )
                                                                     22         Defendants.                   )
                                                                                                              )
                                                                     23                                       )
                                                                                                              )
                                                                     24

                                                                     25         1.     This Complaint concerns the abuse of power by Defendant,
                                                                     26   Correctional OFFICER JOHN DOE 1 (hereinafter "OFFICER DOE"), and
                                                                     27   specifically, OFFICER DOE's sexual assault and battery of Plaintiff JANE DOE,
                                                                     28   while she was incarcerated and under his care and control, and the subsequent

                                                                                                                1
                                                                                                JANE DOE’S COMPLAINT FOR DAMAGES
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                                                                      1   ratification and tacit acquiescence to OFFICER DOE's unconstitutional acts by
                                                                      2   California Department of Corrections and Rehabilitation supervisors, including
                                                                      3   Warden MOLLY HILL, and DOES 2-10, which occurred during a continuous
                                                                      4   time period beginning with the date of OFFICER DOE's sexual assault of JANE
                                                                      5   DOE, and up to and including the date in which OFFICER DOE was terminated
                                                                      6   from the CDCR, which occurred on or around September 6, 2018.
                                                                      7                            JURISDICTION AND VENUE
                                                                      8         2.     Jurisdiction is vested in this court under 28 U.S.C. § 1343(3)-(4) for
                                                                      9   violations of the 1871 Civil Rights Enforcement Act, as amended, including 42
                                                                     10   U.S.C. § 1983 and 28 U.S.C. § 1331.
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                                                                     11         3.     Venue is proper in the Central District of California under 28 U.S.C.
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                                                                     12   § 1391(a)-(b).
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                                                                     13                                       PARTIES
                                                                     14         4.     At all relevant times mentioned herein, Plaintiff JANE DOE was
                                                                     15   incarcerated in the California Institute for Women (hereinafter “CIW”), located at
                                                                     16   16756 Chino Corona Road, in the city of Chino, in the County of San Bernardino
                                                                     17   and in the State of California.
                                                                     18         5.     Upon information and belief, at all times relevant herein, Defendant
                                                                     19   Correctional OFFICER JOHN DOE 1 (“OFFICER DOE”) resided in the County
                                                                     20   of San Bernardino, and was employed by California Department of Corrections
                                                                     21   and Rehabilitation (“CDCR”) in the position of Correctional Officer and stationed
                                                                     22   at the CIW. During all times mentioned herein, OFFICER DOE was acting under
                                                                     23   color and pretense of law, and under color of the statutes, ordinances, regulations,
                                                                     24   policies, practices, customs, and usages of the CDCR, and was acting within the
                                                                     25   course and scope of his employment with the CDCR.
                                                                     26         6.     Upon information and belief, at all times relevant herein, Defendant
                                                                     27   MOLLY HILL resided in the County of San Bernardino, and was employed as
                                                                     28   the Warden of the California Department of Corrections and Rehabilitation
                                                                          (“CDCR”) at the CIW. During all times mentioned herein, Warden MOLLY
                                                                                                                   2
                                                                                                   JANE DOE’S COMPLAINT FOR DAMAGES
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                                                                      1   HILL was acting under color and pretense of law, and under color of the statutes,
                                                                      2   ordinances, regulations, policies, practices, customs, and usages of the CDCR,
                                                                      3   and was acting within the course and scope of her employment with the CDCR.
                                                                      4         7.     Plaintiff is informed, believes, and thereupon alleges that the
                                                                      5   CDCR is, and at all relevant times herein was, a state agency or political
                                                                      6   subdivision organized and existing under the laws of the State of California.
                                                                      7         8.      Plaintiff JANE DOE is unaware of the true name of Defendant
                                                                      8   JOHN DOE 1, who sexually assaulted her,            as well as the names of those
                                                                      9   Defendants sued herein as unknown supervisory defendants DOES 2 through 10,
                                                                     10   inclusive, each of whom acted in a supervisory capacity at the CDCR, and
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                                                                     11   therefore sues these Defendants using fictitious names. Plaintiff JANE DOE will
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                                                                     12   amend this complaint to allege the DOES’ true names and capacities when that
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                                                                     13   information becomes known. Plaintiff JANE DOE is informed and believes and
                                                                     14   on that basis alleges that each of these fictitiously named Defendants are legally
                                                                     15   responsible in some manner for the actions and inactions alleged herein and that
                                                                     16   the injuries suffered by Plaintiff JANE DOE as alleged throughout this complaint
                                                                     17   were proximately caused by these actions and inactions. Plaintiff JANE DOE
                                                                     18   further alleges, based upon information and belief, that each Defendant sued
                                                                     19   herein was acting as the agent or employee of each of the other Defendants, and
                                                                     20   in doing the acts alleged herein was acting within the course and scope of such
                                                                     21   agency and/or employment, and/or aided, abetted, cooperated with, and/or
                                                                     22   conspired with one another to do the acts alleged herein.
                                                                     23         9.     At all relevant times mentioned herein supervisory defendant DOES
                                                                     24   2 through 10, inclusive, were residents of San Bernardino County and/or business
                                                                     25   or corporate entities incorporated in and/or doing business in the State of
                                                                     26   California by virtue of the laws of the State of California.
                                                                     27         10.    Each Defendant is the agent, servant and/or employee of the other
                                                                     28   Defendants and each Defendant was acting within the course and scope of his,
                                                                          her, or its authority as an agent, servant, and/or employee of the other Defendants.
                                                                                                                   3
                                                                                                   JANE DOE’S COMPLAINT FOR DAMAGES
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                                                                      1   Defendants, and each of them, are individuals, corporations, partnerships, and
                                                                      2   other entities which engaged in, joined in, and conspired with the other
                                                                      3   wrongdoers in carrying out the tortious and unlawful activities described in this
                                                                      4   complaint, and Defendants, and each of them, ratified the acts of the other
                                                                      5   Defendants as described in this Complaint.
                                                                      6         11.    Each of the individual Defendants sued herein is sued in his or her
                                                                      7   individual and personal capacity.
                                                                      8                FACTS COMMON TO ALL CAUSES OF ACTION
                                                                      9         12.    This Complaint concerns the sexual assault, battery, abuse of power,
                                                                     10   intimidation, and harassment of Plaintiff JANE DOE, and tacit acquiescence to,
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                                                                     11   and reckless disregard of the unconstitutional activities of OFFICER DOE by
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                                                                     12   supervisory defendants, which began on a date uncertain in the spring of 2017
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                                                                     13   when Defendant OFFICER DOE, was employed at the California Institute for
                                                                     14   Women (“CIW”), located at 16756 Chino Corona Road, in the city of Chino, in
                                                                     15   the County of San Bernardino and in the State of California.
                                                                     16         13.    At all times referenced herein, while at CIW, JANE DOE was within
                                                                     17   the custody, care, supervision, and control of Defendant, California Department
                                                                     18   of Corrections and Rehabilitation (“CDCR”), OFFICER DOE, Warden MOLLY
                                                                     19   HILL, (and other heretofore unknown Officers employed by CDCR and/or CIW.
                                                                     20         14.    At all times referenced herein, while at CIW, JANE DOE was
                                                                     21   wearing department issued clothing indicating her status as a prisoner. She was
                                                                     22   physically restrained to CIW.
                                                                     23         15.    Throughout the acts and omissions described herein, OFFICER DOE
                                                                     24   was wearing his department issued uniform, with badge and identification plate
                                                                     25   plainly visible, and was armed with his department issued pepper spray, baton,
                                                                     26   handcuffs, flashlight and police radio.
                                                                     27         16.    Sometime during the spring of 2017, Plaintiff went to the office
                                                                     28   located in the housing unit (“Office”) to check-out an iron in order to iron her
                                                                          clothing. At the time, Defendant OFFICER DOE was working in the Office.
                                                                                                                  4
                                                                                                  JANE DOE’S COMPLAINT FOR DAMAGES
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                                                                      1         17.     When JANE DOE requested the iron from OFFICER DOE, he told
                                                                      2   her that he was tired and told her to bring her identification into the Office to him.
                                                                      3   As a prisoner, JANE DOE was not normally allowed in the Office; however, she
                                                                      4   followed OFFICER DOE's directive and went inside.
                                                                      5         18.     Once inside the Office, OFFICER DOE told JANE DOE to give him
                                                                      6   a massage. Fearing retaliation for failure to follow a directive from an officer,
                                                                      7   JANE DOE complied and began rubbing OFFICER DOE's shoulders and back.
                                                                      8         19.     After about a minute, JANE DOE stopped massaging OFFICER
                                                                      9   DOE. OFFICER DOE then directed JANE DOE to go into the bathroom located
                                                                     10   inside the Office with him.
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                                                                     11         20.     Once inside the bathroom, OFFICER DOE closed the door and told
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                                                                     12   JANE DOE to sit on the toilet. Fearing for her safety, she complied. OFFICER
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                                                                     13   DOE then lifted up JANE DOE’s clothing and digitally penetrated her vagina
                                                                     14   with his finger against her will and without her consent. JANE DOE was terrified
                                                                     15   and humiliated.
                                                                     16         21.     Immediately after digitally penetrating her against her will,
                                                                     17   OFFICER DOE pulled his naked penis out of his pants, grabbed JANE DOE by
                                                                     18   her hair and pushed her face down onto his penis. Again, terrified and humiliated,
                                                                     19   JANE DOE orally copulated OFFICER DOE, against her will, until he ejaculated
                                                                     20   semen onto her face and clothing. Again, JANE DOE was terrified and
                                                                     21   humiliated.
                                                                     22         22.     When he was finished OFFICER DOE opened the door and told
                                                                     23   JANE DOE that he would tell her when the ‘coast was clear.’ Once no one was
                                                                     24   around, OFFICER DOE allowed JANE DOE to leave.
                                                                     25         23.     JANE DOE was shocked and embarrassed by what happened, but
                                                                     26   terrified to report him for fear of retaliation. After the date of the sexual assault
                                                                     27   described herein, OFFICER DOE continued to engage in continuous pattern of
                                                                     28   intimidation and harassment of JANE DOE, all aimed at coercing her to remain
                                                                          silent and continuing the emotional trauma associated with the sexual assault, all
                                                                                                                   5
                                                                                                   JANE DOE’S COMPLAINT FOR DAMAGES
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                                                                      1   specifically directed against JANE DOE while OFFICER DOE and JANE DOE
                                                                      2   were under the supervision of, and in a manner fully known to, Warden MOLLY
                                                                      3   HILL and unknown supervisory defendants DOES 2-10, which further caused
                                                                      4   JANE DOE to suffer increased damages and emotional distress from the sexual
                                                                      5   assault, which continued unabated up to and including the date of OFFICER
                                                                      6   DOE's termination, at which time he was removed from the CIW premises, and
                                                                      7   was consequently no longer permitted to continue his pattern of intimidation and
                                                                      8   harassment of JANE DOE.
                                                                      9                  EXHAUSTION OF ADMINISTRATIVE REMEDIES
                                                                     10         24.   In or around the fall of 2017, JANE DOE, began the process of
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                                                                     11   treating with a mental health professional at CIW, and pursuing her
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                                                                     12   administrative remedies within the CIW.
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                                                                     13         25.   Over a year later, on or around September 6, 2018, the Investigative
                                                                     14   Services Unit (“ISU”) completed its investigation into JANE DOE’s allegations,
                                                                     15   finding the allegations “substantiated” and providing notice to JANE DOE that
                                                                     16   OFFICER DOE’s employment had been terminated as of that day. This marked
                                                                     17   the formal period in which JANE DOE's administrative remedies had been fully
                                                                     18   and finally exhausted.
                                                                     19         26.   On information and belief JANE DOE was not the only inmate that
                                                                     20   was sexually assaulted and/or battered by OFFICER DOE while confined at CIW
                                                                     21   and prior to the sexual assault of JANE DOE as alleged herein, OFFICER DOE
                                                                     22   sexually assaulted and/or battered other inmates, and had established a practice of
                                                                     23   such behavior prior to the time in which JANE DOE was assaulted. Upon
                                                                     24   information and belief, the nature and extent of OFFICER DOE's sexual
                                                                     25   misconduct was known to Warden MOLLY HILL and unknown supervisory
                                                                     26   defendants DOES 2-10, who acted in a supervisory capacity within the CIW both
                                                                     27   before and after the sexual assault described herein against JANE DOE, and were
                                                                     28   fully aware of OFFICER DOE's unconstitutional activities both before and after
                                                                          the sexual assault described herein against JANE DOE, yet failed to take any
                                                                                                                   6
                                                                                                   JANE DOE’S COMPLAINT FOR DAMAGES
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                                                                      1   actions to terminate, remedy, prevent, and/or redress OFFICER DOE's
                                                                      2   unconstitutional activities, and thereby made possible OFFICER DOE's
                                                                      3   unconstitutional actions in a manner that showed a reckless and callous
                                                                      4   indifference to the constitutional deprivations and ensuing intimidation of JANE
                                                                      5   DOE, which continued unabated up to and including the period of OFFICER
                                                                      6   DOE'S September 6, 2018 termination.
                                                                      7                                      DAMAGES
                                                                      8         27.    As a direct and proximate result of all of OFFICER DOE'S actions,
                                                                      9   JANE DOE was wrongfully and severely sexually assaulted, battered, abused and
                                                                     10   harassed and sustained serious and permanent injuries which were exclusively
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                                                                     11   caused by the above-described actions and omissions of the individual
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                                                                     12   Defendants, and other agents and employees of the CDCR.
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                                                                     13         28.    As a further direct and proximate cause of the sexual assault, battery,
                                                                     14   abuse, harassment and civil rights violations of JANE DOE by OFFICER DOE,
                                                                     15   JANE DOE has suffered, and continues to suffer, great mental and physical pain,
                                                                     16   suffering, anguish, fright, nervousness, anxiety, grief, shock, humiliation,
                                                                     17   indignity, embarrassment, anger, lack of motivation, rage, propensity for self-
                                                                     18   harm, self-degradation, shame, disgust, inability to articulate feelings and
                                                                     19   apprehension, all to her damage in a sum to be determined at trial.
                                                                     20                      FOR THE FIRST CAUSE OF ACTION
                                                                     21                   (By PLAINTIFF Against ALL DEFENDANTS
                                                                     22                  for Violations of Civil Rights [42 U.S.C. § 1983])
                                                                     23                (Based on Sexual Battery and Supervisory Liability)
                                                                     24         29.    Plaintiff JANE DOE hereby restates and incorporates by reference
                                                                     25   the foregoing paragraphs of this complaint.
                                                                     26         30.    This cause of action is to redress the deprivation, under color of
                                                                     27   statute, ordinance, regulation, policy, custom, practice or usage of rights,
                                                                     28   privileges, and immunities secured to JANE DOE by the Eighth Amendment to
                                                                          the United States Constitution.
                                                                                                                  7
                                                                                                  JANE DOE’S COMPLAINT FOR DAMAGES
                                                                          Case 5:21-cv-00769-JGB-SP Document 1 Filed 04/29/21 Page 8 of 11 Page ID #:8


                                                                      1         31.    At all times mentioned herein, Defendant OFFICER DOE was
                                                                      2   employed by the California Department of Corrections and Rehabilitation
                                                                      3   (“CDCR”) in the position of Correctional Officer and stationed at the California
                                                                      4   Institute for Women (“CIW”). CDCR provided OFFICER DOE with an official
                                                                      5   badge and identification cards which designated and described him as an agent
                                                                      6   and employee of CDCR and CIW.
                                                                      7         32.    During all times mentioned herein, OFFICER DOE acted under
                                                                      8   color and pretense of law, and under color of the statutes, ordinances, regulations,
                                                                      9   policies, practices, customs, and usages of the CDCR, and in so doing, deprived
                                                                     10   JANE DOE of the rights, privileges, and immunities secured to her by the Eighth
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                                                                     11   Amendment to the United States Constitution and the laws of the United States.
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                                                                     12         33.    During all times mentioned herein, OFFICER DOE was acting in the
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                                                                     13   course and scope of his employment with CDCR and/or CIW.
                                                                     14         34.    During all times mentioned herein, OFFICER DOE’s conduct
                                                                     15   toward JANE DOE was cruel, unusual, malicious, sadistic, offensive to human
                                                                     16   dignity, sexually abusive, sexually harassing, without penological justification
                                                                     17   and for his own gratification, thereby depriving JANE DOE of the rights,
                                                                     18   privileges, and immunities secured to her by the Eighth Amendment to the United
                                                                     19   States Constitution and the laws of the United States.
                                                                     20         35.    OFFICER DOE, sexually assaulted, battered, abused, harassed, and
                                                                     21   injured JANE DOE, as previously described, all of which constituted
                                                                     22   unjustifiable, unreasonable, and unlawful acts of sexual misconduct in violation
                                                                     23   of and with deliberate indifference to JANE DOE’S constitutional right to be free
                                                                     24   from cruel and unusual punishment.
                                                                     25         36.    Upon information and belief, the nature and extent of OFFICER
                                                                     26   DOE's sexual misconduct was known to Warden MOLLY HILL and unknown
                                                                     27   supervisory defendants DOES 2-10, who acted in a supervisory capacity within
                                                                     28   the CIW both before and after the sexual assault described herein against JANE
                                                                          DOE, and were fully aware of OFFICER DOE's unconstitutional activities both
                                                                                                                  8
                                                                                                  JANE DOE’S COMPLAINT FOR DAMAGES
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                                                                      1   before and after the sexual assault described herein against JANE DOE, yet failed
                                                                      2   to take any actions to terminate, remedy, prevent, and/or redress OFFICER DOE's
                                                                      3   unconstitutional activities, and thereby made possible OFFICER DOE's
                                                                      4   unconstitutional actions in a manner that showed a reckless and callous
                                                                      5   indifference to the constitutional deprivations and ensuing intimidation of JANE
                                                                      6   DOE, which continued unabated up to and including the period of OFFICER
                                                                      7   DOE's September 6, 2018 termination.
                                                                      8         37.   The above acts and omissions of the Defendants, and each of them,
                                                                      9   was undertaken while under color of state law and resulted in the violation of
                                                                     10   JANE DOE’S constitutional rights, as stated herein.
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                                                                     11         38.   JANE DOE had the right to be free from unlawful cruel and unusual
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                                                                     12   punishment, unlawful use of force and unlawful sexual assault, battery, abuse
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                                                                     13   and/or harassment. All of these rights and privileges are secured to JANE DOE
                                                                     14   by the provisions of the Eighth Amendment to the United States Constitution, and
                                                                     15   by 42 U.S.C. § 1983. All of these interests were implicated by the wrongful
                                                                     16   conduct of the OFFICER DOE which proximately caused severe injuries to JANE
                                                                     17   DOE, as described herein.
                                                                     18         39.   The individual defendants named herein, separately and in concert,
                                                                     19   acted willfully, knowingly, with reckless disregard and deliberate indifference to
                                                                     20   the known consequences of their acts and omissions, and purposefully with the
                                                                     21   intent to deprive JANE DOE of her federally protected rights and privileges, and
                                                                     22   did in fact violate those rights and privileges, entitling JANE DOE to punitive and
                                                                     23   exemplary damages in an amount to be proven at the trial of this matter.
                                                                     24         40.   As a direct and proximate result of the aforementioned constitutional
                                                                     25   violations, JANE DOE was sexually assaulted, battered, abused and harassedand
                                                                     26   has suffered, and continues to suffer, great mental and physical pain, suffering,
                                                                     27   anguish, fright, nervousness, anxiety, grief, shock, humiliation, indignity,
                                                                     28   embarrassment, anger, lack of motivation, rage, propensity for self-harm, self-


                                                                                                                  9
                                                                                                  JANE DOE’S COMPLAINT FOR DAMAGES
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                                                                      1    degradation, shame, disgust, inability to articulate feelings and apprehension, all
                                                                      2    to her damage in a sum to be determined at trial.
                                                                      3            41.   Additionally, as a proximate cause of the sexual assault, battery
                                                                      4    abuse and harassment by OFFICER DOE, JANE DOE has treated and will
                                                                      5    continue to treat with mental health providers in an amount to be proven at trial.
                                                                      6            42.   JANE DOE has been forced to incur substantial amounts for
                                                                      7    attorneys’ fees, investigation expenses, and other expenses in the prosecution of
                                                                      8    the above articulated constitutional violations. JANE DOE is entitled to and
                                                                      9    hereby demands costs, attorneys’ fees, and expenses pursuant to 42 U.S.C. §
                                                                     10    1988.
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                                                                     12                                      JURY DEMAND
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                                                                     13            43.   PLAINTIFF hereby demands that a jury be empanelled for the trial
                                                                     14    of this matter.
                                                                     15

                                                                     16                                            PRAYER
                                                                     17            WHEREFORE, PLAINTIFF JANE DOE prays for judgment against
                                                                     18    Defendant as follows:
                                                                     19                  1.    For general damages in an amount to be determined according
                                                                     20                        to proof attrial;
                                                                     21                  3.    For medical and related expenses according to proof at trial;
                                                                     22                  4.    For costs of suit incurred herein;
                                                                     23                  5.    For punitive damages against the individual Defendants in an
                                                                     24                        amount tobe determined according to proof at trial;
                                                                     25                  6.    For attorneys’ fees and expert witness fees incurred herein;
                                                                     26                  7.    For statutory damages as permitted by law; and
                                                                     27                  ///
                                                                     28                  ///


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                                                                                                    JANE DOE’S COMPLAINT FOR DAMAGES
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                                                                      1               8.    For such other and further relief as the Court deems just and
                                                                      2                     proper.
                                                                      3

                                                                      4    DATED: April 29, 2021               Respectfully submitted,
                                                                      5                                        THE COCHRAN FIRM CALIFORNIA
                                                                      6

                                                                      7
                                                                                                         By:   /s/ Brian T. Dunn      _________
                                                                                                               BRIAN T. DUNN, Esq.
                                                                      8
                                                                                                               Attorneys for PLAINTIFF

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                                                                                                JANE DOE’S COMPLAINT FOR DAMAGES
